                     30278IN THE UNITED STSATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

RENA JOHNSON                                         )
                                                     )
v.                                                   )       Case No. 3:18-cv-00278
                                                     )       Richardson/Holmes
OCWEN LOAN SERVICING, LLC                            )

                                            ORDER

       Pending before the Court is Plaintiff’s motion to modify the case management schedule

(Docket No. 25), which Plaintiff represents is unopposed, and which is GRANTED as provided

herein. In the motion, Plaintiff also requests that, due to the length of the extensions sought, the

trial presently scheduled for May 21, 2019, also be continued. After consultation with Judge

Richardson, that relief is also granted. The trial set for May 21, 2019, and the pretrial conference

set for May 17, 2019, are CANCELLED to be reset by separate order of Judge Richardson. 1

        For good cause shown, the case management plan is modified as follows: 2

       1.      The parties must complete all written discovery and depose all fact witnesses by

no later than December 21, 2018. Additionally, the following discovery dispute resolution

procedures shall apply. No motions concerning discovery are to be filed until after lead counsel

have spoken in a good faith effort to resolve any dispute(s). Discovery disputes that cannot be

resolved after good faith discussions should be brought promptly to the attention of the


       1
           The parties are reminded that, upon the referral of this case to the Magistrate Judge for
case management, requested extensions of case management deadlines are directed to the
Magistrate Judge, while requests for continuance of the trial date must be directed to the District
Judge. If the parties request an extension of a case management deadline that will impact the
trial date, including by impermissibly compressing the time between the dispositive motion reply
deadline and the trial date, the extension may be denied until such time as the parties have sought
and obtained a continuance of the trial from the District Judge.
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           The parties should carefully review all of the modifications, as the Court takes this
opportunity to not only grant the requested relief but to include additional case management
provisions based on reassignment of this case.



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Magistrate Judge either by a request for a discovery conference or a discovery motion, and all

discovery motions shall be filed by no later than December 21, 2018. In connection with any

discovery conference or discovery motion, the parties must file a joint discovery dispute

statement, which confirms that lead counsel spoke as required, and which also describes the

specific discovery request(s) in dispute and details each party’s position with supporting facts

and legal authorities. If the joint statement is sufficiently detailed, any party may adopt by

reference the joint statement for purposes of Local Rule 7.01, but must clearly state in the filing

made in accordance with the timing requirements of Local Rule 7.01 that the joint statement is

adopted as the party’s memorandum of law or response. All other discovery procedures remain

unchanged.

       2.      Dispositive motions must be filed by no later than February 22, 2019.

Responses to dispositive motions must be filed within 21 days after the filing of the motion.

Briefs or memoranda of law in support of or in opposition to a dispositive motion shall not

exceed 25 pages. Optional replies may be filed within 7 days after the filing of the response and

shall not exceed 5 pages. No motion for partial summary judgment shall be filed except upon

leave of court. Any party wanting to file such a motion must first file a separate motion that

gives the justification for filing a partial summary judgment motion in terms of overall economy

of time and expense for the parties, counsel, and the Court.

       3.      All other case management deadlines and provisions found in prior orders and not

modified herein remain in full force and effect.

       4.      Plaintiff’s motion requests a new target trial date of July 9, 2019. An order

setting dates for trial and a pretrial conference, and detailing the parties’ pretrial obligations,

including the trial-related deadlines addressed in Plaintiff’s motion, will be entered separately by



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Judge Richardson. Because no contrary information was provided in Plaintiff’s motion, the

Court presumes that the jury trial is expected to last approximately three (3) days. See Docket

No. 18 at 4 (reciting number of trial days) and Docket No. 19 (setting trial as a jury trial).

       It is SO ORDERED.




                                               ________________________________________
                                               BARBARA D. HOLMES
                                               United States Magistrate Judge




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